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STATE OF MINNESOTA                                                             DISTRICT COURT

COUNTY OF HENNEPIN                                               FOURTH JUDICIAL DISTRICT
                                                                            Case Type: Civil


Keevin Lashawn Hinton,                                      Court File No.

                                 Plaintiff,

v.                                                          COMPLAINT
                                                            AND JURY DEMAND

Officers Jer Yang and Sergeant
David Robinson in their
official and individual
capacities as police officers
for the City of Minneapolis,
and the City of Minneapolis,

                                 Defendants.



       PlaintiffKeevin Lashawn Hinton, for his complaint against the above-named Defendants,

states and alleges as follows:

        1.     This is an action for money damages for injuries sustained by Keevin Hinton, as a

result of the violations by Defendants of Hinton's clearly established rights under the

Constitution of the United States, federal statutes, and Minnesota's common law. Hinton

demands that this case be tried to a jury.

                                                PARTIES

       2.      At all times relevant to this action, Hinton was a citizen of the United States of

America and a resident of the State of Minnesota and the County of Hennepin.

       3.      At all times relevant to this action, Defendants were employed by and acting,



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under color of law, as agents of the Minneapolis Police Department and the City of Minneapolis.

          4.    Hinton sues Defendants Yang and Robinson in their official and individual

capacities as police officers ofthe Minneapolis Police Department.

          5.    At all times relevant to this action, the City of Minneapolis was and is a duly

incorporated municipal corporation and the employer and principal of Defendants.

                                 JURISDICTION AND VENUE

          6.    Hinton brings this action pursuant to the Fourth and Fourteenth Amendments to

the Constitution of the United States, 42 U.S.C. §§ 1983 and 1988, and Minnesota's common law

which confer upon this Court jurisdiction as to all claims.

          7.    Because all of the facts complained of arose in the City of Minneapolis, this action

properly lies in Hennepin County.

                                   FACTUAL ALLEGATIONS

          8.    On April20, 2010, Keevin Hinton was at the Elks Club located at 1614 Plymouth

Avenue North in Minneapolis, Minnesota. Just after midnight, Hinton left the Elks Club because

it was almost closing time. Shortly thereafter, he was standing in the alley with several other

people. It was very dark outside and the alley was not well lit.

          9.    Hinton was carrying a handgun while standing in the alley.

          10.   Without warning, Hinton and the people with him were rapidly approached by

numerous strangers who were approaching from several different directions through the dark,

adjacent yards. The strangers approached with guns drawn, and did not identify themselves as

police.

          11.   Hinton thought that he and his friends were being robbed and so he took off



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running down the alley away from the Elks Club. Hinton saw more people running towards him

up the alley with guns drawn.

         12.   Aware that he was in an alley at night with a gun, Hinton's fear of being robbed

changed to a fear of being killed while attempting to surrender. So, once Hinton realized that the

suspected robbers were police officers he sought to disarm himself immediately. As he ran down

the alley, Hinton discarded the handgun he was carrying by tossing it onto the roof of the Elks

Club. Officer Yang saw this occur and heard the gun land on the roof.

         13.   After getting rid of his handgun, Hinton immediately complied with the

commands of Officer Yang and surrendered himself. Hinton raised his arms and placed his

hands above his head with palms open and began to get down onto his knees with his back to the

wall.

         14.   Instead of allowing Hinton to surrender peaceably as he was attempting to do, and

despite Hinton's total compliance, Officer Yang, who had seen and heard Hinton toss his gun,

made contact with Hinton and without warning or commands punched him in the face several

times. Hinton had already surrendered at this point, his back was against a wall and he had

nowhere to run.

         15.   Officer Yang pushed Hinton up against the wall of the alley and continued to beat

Hinton, punching him in the face and delivering knee strikes to the body without giving orders as

Hinton kneeled down to get on the ground.

         16.   Sergeant Robinson arrived on scene, and though Hinton was already beaten and

was fully compliant, Sergeant Robinson joined in, kicking and punching Hinton several times in

the face and upper body as Hinton laid on the ground. One of the officers repeatedly told Hinton



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to "Go to sleep motherfucker!" as they kicked him in the head. The officers only stopped their

assault when they became tired, not when Hinton stopped moving.

          17.   Officer Yang and Sergeant Robinson then handcuffed Hinton, who was face down

on the ground, and began kneeling on his head to push his face into the ground even though

Hinton was nearly unconscious and had been fully compliant since the beginning of his

interaction with Officers Yang and Robinson.

          18.   An ambulance was eventually called to the scene, but was then sent away before

Hinton could receive any medical attention. Hinton was transported to North Memorial Hospital

in the back of Officer Yang's squad car.

          19.   Hinton suffered a subconjunctival hemorrhage as well as abrasions and lacerations

to his face and head which required sutures, contusions to his head and body, a broken nose,

significant orbital swelling, and severe pain to his neck, shoulder and chest. In addition to his

physical injury Plaintiff has endured psychological pain and suffering, mental anguish and

humiliation, including emotional distress, problems coping with emotions.

            COUNT 1- EXCESSIVE FORCE IN VIOLATION OF 42 U.S.C. § 1983

       Plaintiff re-alleges paragraphs 1-19 as if fully stated herein and further states and alleges:

       20.      The Defendants, while acting under color of state law, deprived Plaintiff of his

constitutional right to be free from unreasonable seizure. Specifically, the Defendants' actions

constituted excessive force in violation of the Fourth and Fourteenth Amendments when

Defendant Yang punched the unarmed Plaintiff in the face and upper body without warning,

delivered knee strikes to Plaintiff after he had surrendered, and kicked him while he was on the

ground.



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          21.     The excessive use of force was furthered by Defendant Robinson when he joined

in, punching and striking Plaintiff as he was pushed against a wall, and kicking him as he lay on

the ground, while he posed no threat to Defendants and was fully compliant. These actions were

done to intentionally injure Plaintiff and to punish him for having run in the first place, as he had

already surrendered at the time the force was used.

          22.     The intentional acts of the Defendants actually and proximately caused extensive

damage to Plaintiff's physical and mental health.

          Plaintiff demands relief as set forth below.

       COUNT 2- FAILURE TO INTERVENE IN VIOLATION OF 42 U.S.C. § 1983

          Plaintiffre-alleges paragraphs 1-22 as if fully stated herein and further states and alleges:

          23.     Defendant Robinson had a meaningful opportunity, and a duty, to intervene on

Plaintiff's behalf to stop the use of excessive force by Defendant Yang.

          24.     Defendant Robinson failed to intervene and Plaintiff was injured as a result. This

failure to intervene was the actual, direct and proximate cause of Plaintiff's injuries. Specifically,

when Robinson failed to halt the further assault of Plaintiff by Defendant Yang after arriving on

scene, Robinson failed to intervene to halt the constitutional violations being committed by, and

thus committed a separate and distinct constitutional violation.

          Plaintiff demands relief as set forth below.

                                         COUNT 3- BATTERY

Plaintiff re-alleges paragraphs 1-24 and further states:

    25.         By punching and striking Plaintiff without warning and after he had surrendered,

Defendants battered Plaintiff. Defendants used more physical force than was reasonable and



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necessary under the circumstances, and did so without Plaintiff's consent. Such excessive force

constitutes common law battery.

    26.         As a direct, actual and proximate result of the actions of the Defendants, Plaintiff

suffered physical injury, pain and suffering, mental anguish and humiliation.

    27.         Defendant City of Minneapolis is jointly and severally liable for the actions of the

police officers under the doctrines of agency and respondeat superior.

Plaintiff demands relief as set forth below.

                                            COUNT 4- ASSAULT

Plaintiffre-alleges paragraphs 1-27 and further states:

    28.        Defendants' unwarranted attack on Plaintiff caused him to be in reasonable fear of

imminent great bodily harm. These actions and the display of force by Defendants' constitute

common law assault.

    29.        As a direct and proximate result of Defendants' threatening actions, Plaintiff suffered

physical injury, pain and suffering, mental anguish and humiliation.

    30.        Defendant City of Minneapolis is jointly and severally liable for the actions of the

police officers under the doctrines of agency and respondeat superior.

Plaintiff demands relief as set forth below.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

          a.       awarding Plaintiff compensatory damages against Defendants, and each of them,

                   jointly and severally, in the amount of $250,000;

          b.       awarding Plaintiff punitive damages on all claims;



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         c.     awarding Plaintiff all of his costs and disbursements, including reasonable

                attorney's fees as allowed by law, including 42 U.S.C. § 1988;

         d.     granting such other relief as the Court may deem just and equitable.




Dated:        ~(/If!!/
                                                            ~
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                        ACKNOWLEDGMENT REQUIRED BY
                       MINNESOTA STATUTE SECTION 549.211

         The parties represented by the undersigned hereby acknowledge that pursuant to Minn.

Stat. Section 549.211, monetary and/or non-monetary sanctions may be imposed for claims made

in violation of that statute.




Dated:




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